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10   UNITED STATES OF AMERICA
11                          UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,               ED CR No. 21-174-JWH

14             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
15                  v.                       (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
16   RICHARD ALLEN KERR,                     ACT

17             Defendant.                    CURRENT TRIAL DATE:        September
                                             26, 2022
18                                           PROPOSED TRIAL DATE:       January 23,
                                             2023
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorney Sean D. Peterson, and
24   defendant RICHARD ALLEN KERR (“defendant”), both individually and by
25   and through his counsel of record, Carlos L. Juarez, hereby stipulate
26   as follows:
27        1.   The Indictment in this case was filed on August 11, 2021.
28   Defendant first appeared before a judicial officer of the court in
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1    which the charges in this case were pending on August 13, 2021.              The

2    Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

3    trial commence on or before October 22, 2021.

4         2.     On August 13, 2021, the Court set a trial date of October

5    4, 2021, and a status conference date of September 17, 2021.

6         3.     The Court has previously continued the trial date in this

7    case from October 4, 2021 to September 26, 2022, and found the

8    interim period to be excluded in computing the time within which the

9    trial must commence, pursuant to the Speedy Trial Act.
10        4.     Defendant is released on bond pending trial.        The parties
11   estimate that the trial in this matter will last approximately four
12   days.
13        5.     By this stipulation, defendant moves to continue the trial
14   date to January 23, 2023, and the status conference date to December
15   16, 2022.    This is the third request for a continuance.
16        6.     Defendant requests the continuance based upon the following
17   facts, which the parties believe demonstrate good cause to support
18   the appropriate findings under the Speedy Trial Act:

19               a.   Defendant is charged with seven counts of wire fraud

20   involving deprivation of honest services, in violation of 18 U.S.C.

21   §§ 1343, 1346, and two counts of bribery concerning programs

22   receiving federal funds, in violation of 18 U.S.C. § 666(a)(1)(B).

23   The government has produced over 117,000 bates-stamped pages of

24   discovery materials to the defense, a significant portion of which is

25   subject to a protective order, which was entered in this case.           The

26   materials include investigative reports, bank records,

27   telecommunication records, audio and video recordings, and various

28   types of Adelanto City records, among other things.

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1               b.   Defense counsel is presently scheduled to start trial

2    on September 20, 2022, in United States v. Gamboa, 13-CR-608-JAK, a

3    one-defendant drug conspiracy case, which is estimated to last three

4    to four days, and where defendant is in custody.

5               c.   Defense counsel is presently scheduled to start trial

6    on September 27, 2022, in United States v. Osorio, 21-CR-242-MWF, a

7    one-defendant fraud case, which is estimated to last four to five

8    days, and where defendant is in custody.

9               d.   Defense counsel is presently scheduled to start trial
10   on October 18, 2022, in United States v. Keichour, 20-CR-171-JVS, a
11   multi-defendant drug and gun conspiracy case, where defendant is in

12   custody.

13              e.   Defense counsel is presently scheduled to start trial

14   on November 8, 2022, in United States v. Procopio, 20-CR-191-JFW, a

15   two-defendant fraud case, which is estimated to last six to eight

16   days.

17              f.   Accordingly, counsel represents that he will not have

18   the time that he believes is necessary to prepare to try this case on

19   the current trial date.

20              g.   In light of the foregoing, counsel for defendant also

21   represents that additional time is necessary to confer with

22   defendant, conduct and complete an independent investigation of the

23   case, conduct and complete additional legal research including for

24   potential pre-trial motions, review the discovery and potential

25   evidence in the case, and prepare for trial in the event that a

26   pretrial resolution does not occur.       Defense counsel represents that

27   failure to grant the continuance would deny him reasonable time

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1    necessary for effective preparation, taking into account the exercise

2    of due diligence.

3              h.      Defendant believes that failure to grant the

4    continuance will deny him continuity of counsel and adequate

5    representation.

6         7.   Based on all of the foregoing, for purposes of computing

7    the date under the Speedy Trial Act by which defendant’s trial must

8    commence, the parties agree that the time period of September 26,

9    2022 to January 23, 2023, inclusive, should be excluded pursuant to
10   18 U.S.C. §§ 3161 (h)(7)(A), (h)(7)(B)(i) and (h)(7)(B)(iv) because
11   the delay results from a continuance granted by the Court at
12   defendant’s request, without government objection, on the basis of
13   the Court’s findings that: (i) the ends of justice served by the
14   continuance outweigh the best interest of the public and defendant in
15   a speedy trial; (ii) failure to grant the continuance would be likely
16   to make a continuation of the proceeding impossible, or result in a
17   miscarriage of justice; (iii) failure to grant the continuance would
18   unreasonably deny defendant continuity of counsel and would deny

19   defense counsel the reasonable time necessary for effective

20   preparation, taking into account the exercise of due diligence.

21        8.   Nothing in this stipulation shall preclude a finding that

22   other provisions of the Speedy Trial Act dictate that additional time

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24   //
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